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10   *Seeking admission pro hac vice

11                              IN THE UNITED STATES DISTRICT COURT

12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                     SAN FRANCISCO DIVISION

14
     CENTER FOR BIOLOGICAL                    )
15   DIVERSITY; SAN FRANCISCO                 ) Case No: 3:19-cv-02843-JSC
     BAYKEEPER;                               )
16                                            )
                   Plaintiffs,                )
17                                            ) CERTIFICATION OF INTERESTED
             v.                               ) ENTITIES OR PERSONS
18                                            )
     DAVID BERNHARDT, Secretary of the        )
19   Interior; MARGARET EVERSON, Acting )
     U.S. Fish and Wildlife Service Director; )
20                                            )
                   Defendants.                )
21   _____________________________________ )
                                              )
22                                            )
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     Certification of Interested Entities or Persons                          1
                Case 3:19-cv-02843-JSC Document 3 Filed 05/23/19 Page 2 of 2



 1          Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the

 2   named parties, there is no such interest to report.

 3

 4   Respectfully submitted and dated this 23rd day of May, 2019.

 5

 6                                                         /s/ Jennifer L. Loda______________
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     Certification of Interested Entities or Persons                                                      2
